Case 3:17-cv-06748-WHO Document 1-8 Filed 11/22/17 Page 1 of 3




EXHIBIT "G"
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     Case 3:17-cv-06748-WHO Document 1-8 Filed 11/22/17 Page 2 of 3

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2
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     Attorneys for Plaintiffs
     Attorneys.for
7
     DEMETRIC DI-AZ, OWEN DIAZ AND LAMAR PATTERSON
8

9                IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

10        IN AND FOR THE COUNTY OF ALAMEDA - UNLIMITED JURISDICTION

11
     DEMETRIC DI-AZ, OWEN DIAZ and       ) Case No. RG17878854
12   LAMAR PATTERSON,                    )
                                         )
13                                       )
            Plaintiffs,
            Plaintiffs, •                )    PLAINTIFF'S JURY FEE DEPOSIT
14                                       )    PURSUANT TO CCP §631(b)
           v.                            )
15                                       )
     TESLA, INC. DBA TESLA MOTORS, INC.; )
16
     CITISTAFF SOLUTIONS, INC.; WEST     )
17   VALLEY STAFFING GROUP;              )
     CHARTWELL STAFFING SERVICES, INC.;
18   and DOES 1-10, inclusive,           )
                                         )
19          Defendants.                  )                      BY FAX             B1 FAY,
                                          )
20                                        )

21

22   To the above court, the clerk thereof, and all concerned parties:

23   The statutory advance jury fee is tendered herewith on behalf of Plaintiffs Demetric Di-az, Owen

24   Diaz, and Lamar Patterson.

25   Dated: November 13, 2017                       CALIFORNIA CIVIL RIGHTS LAW GROUP

26

27

28                                                  LAWRENCE A. ORGAN




                                            Plaintiffs
                                            PlaintiffsJury
                                                       JuryFee
                                                           Fee Deposit
                      •
        Case 3:17-cv-06748-WHO Document 1-8 Filed 11/22/17 Page 3 of 3




 1
                                        LAWRENCE A. ORGAN
 2                                      NAVRUZ AVLONI
                                        Attorneys for Plaintiffs
 3                                      DEMETRIC DI-AZ, OWEN DIAZ and LAMAR
 4                                      PATTERSON

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                                 Plaintiff's Jury Fee Deposit
